Case 4:24-cr-00200-BLW Document 2-5

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CRIMINAL COVERSHEET
DEFENDANT’S NAME: Lavoy Linton Eborn JUVENILE: No
DEFENSE ATTORNEY:
Address: U.S. COURTS PUBLIC or SEALED: Public
SERVICE TYPE: Warrant
AUG 2 " 2024 (Summons or Warrant or
Aevd ritlec (UC time tbo Notice (if Superseding))
Telephone No.: STEPHEN W. KENYON ISSUE: Yes
CLERK, DISTRICT GF IDAHO
INVESTIGATIVE AGENT: Lathan Sidebottom INTERPRETER:

Telephone No.: (208) 541-1037
AGENCY: USS. Fish & Wildlife

If YES, language:

CASE INFORMATION:

RELATED COMPLAINT: No
CASE NUMBER:

CR-24-00200E-BLW

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CRIMINAL CHARGING INFORMATION

CHARGING DOCUMENT: Indictment

Felony: Yes County of Offense: Bear Lake
Class A Misdemeanor: Yes Estimated Trial Time: 4 days
Class B or C Misdemeanor: No
(Petty Offense)
STATUTE COUNT, PENALTIES
(Title and Section(s)) FORFEITURE | BRIEF DESCRIPTION (Include Supervised Release
ALLEGATION and Special Assessment)
18 U.S.C. § 371 ONE Conspiracy Up to 5 years imprisonment,
maximum of $250,000 fine,
up to 3 years of supervised
release and $100 special
assessment
16 U.S.C. §§ 3372(a)(1), 3373 THREE Lacey Act Violation Up to 5 years imprisonment,
(d)(1)(B) and 18 U.S.C, § 2 maximum of $250,000 fine,
up to 3 years of supervised
release and $100 special
assessment
16 U.S.C. §§ 3372(a)(1), 3373 FOUR Lacey Act Violation Up to 5 years imprisonment,
(d)(1)(B) and 18 U.S.C, § 2 maximum of $250,000 fine,
up to 3 years of supervised
release and $100 special
assessment
16 U.S.C. §§ 3372(a)(1), 3373 FIVE Lacey Act Violation Up to 5 years imprisonment,
(d)(1)(B) and 18 U.S.C. § 2 maximum of $250,000 fine,
up to 3 years of supervised
release and $100 special
assessment

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16 U.S.C. §§ 3372(a)(2)(a),
3373 (d)(1)(B) and 18 U.S.C.

§2

SIX

Lacey Act Violation

Up to 5 years imprisonment,
maximum of $250,000 fine,
up to 3 years of supervised
release and $100 special
assessment

16 U.S.C. §§ 3372(a)(1), 3373
(d)(1)(B) and 18 U.S.C. § 2

EIGHT

Lacey Act Violation

Up to 5 years imprisonment,
maximum of $250,000 fine,
up to 3 years of supervised
release and $100 special
assessment

16 U.S.C. §§ 3372(a)(1), 3373
(d)(1)(B) and 18 U.S.C. § 2

NINE

Lacey Act Violation

Up to 5 years imprisonment,
maximum of $250,000 fine,
up to 3 years of supervised
release and $100 special
assessment

16 U.S.C. §§ 3372(a)(1), 3373
(d)(1)(B) and 18 U.S.C. § 2

ELEVEN

Lacey Act Violation

Up to 5 years imprisonment,
maximum of $250,000 fine,
up to 3 years of supervised
release and $100 special
assessment

16 U.S.C. §§ 3374(a)(2) and
28 U.S.C. 2461(c)

Forfeiture

Date: 27 August 2024

Assistant U.S. Attomey; JUSTIN K. PASKEIT (pL?

Telephone No.: _(208) 478-4166 VY?

